      Case 2:19-cr-00107-KJM Document 1323 Filed 11/02/22 Page 1 of 2


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 8                              UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                             No. 2:19-cr-00107-KJM
12                              Plaintiff,                 ORDER
13           v.
14
     Brant Daniel,
15
                                Defendant.
16

17          The court previously granted in part defendant Brant Daniel’s motion to compel the

18   production of evidence by the government under Federal Rule of Criminal Procedure 16.

19   ECF No. 1275. The court permitted the California Department of Corrections and Rehabilitation
20   (CDCR) to object to two categories of documents:

21                   (2) The government is directed to request that CDCR examine and
22                   produce any and all written reports, statements, or documents by
23                   Officer Ramirez or Officer Lee regarding the search of Daniel’s cell
24                   and the incidents alleged in the October 2020 RVR.

25                   (3) The government is directed to request that CDCR examine and
26                   produce the “Supplemental Report” and two “IE Reports” cited in
27                   Ex. D to Daniel’s Reply on pages 1–2.
28   See id at 7–8. CDCR has objected, ECF No. 1287, and Daniel has responded, ECF No. 1288.

29   After a hearing, the court informed the parties it intended to construe Daniel’s motion as a

30   subpoena under Federal Rule of Criminal Procedure 17 and the CDCR’s objections as a motion to

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      Case 2:19-cr-00107-KJM Document 1323 Filed 11/02/22 Page 2 of 2


 1   quash that subpoena. See Tentative Order, ECF No. 1313. The court permitted CDCR to object,

 2   which it has, in part. Suppl. Obj., ECF No. 1317. Daniel has responded to those objections.

 3   Resp. to Suppl. Obj., ECF No. 1319.

 4          CDCR does not further object to the court’s order to produce documents in response to

 5   Daniel’s request (3) above. Suppl. Obj. at 2. CDCR shall promptly comply with that

 6   discovery request.

 7          CDCR does object to the order to produce one document in response to request (2) above.

 8   Id. It argues the document discloses the name of a confidential informant, which it seeks

 9   permission to redact, and it asks the court to review that document in camera. Id. at 2–4. Its

10   request for in camera review is granted. CDCR is directed to promptly submit an unredacted

11   electronic copy of the responsive document for in camera review by email to the Courtroom

12   Deputy, Casey Schultz, with proposed redactions indicated by highlighting or similar means.

13          IT IS SO ORDERED.

14   DATED: November 2, 2022.

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